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UNITED STATES
SECURITIES AND EXCI-lANGE CoMMlssioi<i
DENVER RsoroNAL OFFICE
BYRON G. ROGERS FEI)ERAL BuILDING
1961 STou'r STREET, SUITE 1700

DENVER, CoLoRADo 80294-1961

 

Dl\’lSlON OF ` (303) 844-1084
ENFORCE.MENT CarlyleZ@scc.gov

 

September 22, 2017

Honorable Denise Cote

U.S. District Court for the

Southern District of Nevv York

Daniel Patricl< l\/loynihan United States Courthouse
500 Pearl Strcet, Roorn 1610

New Yorl<, NY 10007

 

 

 

 

Re: SEC v. Alp.r'ne Securl`ties Corporarion, 1.'17-CV-04179-DLC
Dear Judge Cote:

Pursuant to Fed. R. Civ. P. 26(0) and the Court’s direction during the initial pretriai
conference held in this matter on September l5, 20l7, the Securities and Exchange Commission
(“SEC”) and Defendant Alpine Securities Corporation (“Alpine”)_iointly submit the enclosed
protective order for the Couit’s consideration

The parties have conferred about the proposed order and, except for two related
provisions, have stipulated to its contents. The disputed provisions appear in paragraphs S(d)
and 6, vvhere the disputed provisions are emphasized in bold and underline typeface. These
provisions permit the use of certain Discovery Material in connection With “any parallel criminal
casc” and disclosure of Discovery Material to “governrnent personnel in connection with any
parallel criminal case.” The SEC requests that the order include the emphasized provisions and
Alpine requests that the Court strike the emphasized provisions The parties’ respective
positions on this dispute are set forth belovv.

The SEC requests that the Court include the emphasized provisions in paragraphs S(d)
and 6 because there is no reason that this protective order, Which is designed to protect the
confidentiality of Suspicious Activity Reports (“SARs”), should prohibit the SEC from sharing
evidence gathered through discovery With criminal authorities Cooperating with criminal
authorities is an important component of the SEC’s enforcement mission The federal securities
laws expressly permit the SEC to share information vvith other government agencies and to
provide information to the Department of Justice for it to determine Whether to institute criminal
proceedings See Securities Exchange Act of 1934, Section Zl (d); 17 C.F.R. § 240.24.<;-1. The
Defendant asserts that it vvould be improper for the SEC to conduct a “de facto criminal
investigation using nominally civil means” but does not even suggest that this is taking place in

 

 

 

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this case. lt is not. The SEC is conducting this litigation independently of any other
governmental agency and will use discovery to advance its own litigation purposes In the event
that the SEC receives evidence in discovery that is potentially relevant to criminal vio1ations, this
protective order should not restrict its ability to share the evidence with the criminal authorities
Further, the purpose of this protective order is to protect the confidentiality of SARs-it is not to
shield information from government agencies Preventing the SEC from sharing SAR material
with government agencies who agree to be bound by the order does not serve the purpose of the
order.

 

 

Alpine Will not stipulate to the SEC sharing information in a parallel criminal case
because such a stipulation may result as a waiver of criminal defenses and rights, including 5th
Amendment protections for Alpine and its employees who may give testimony in this matter
Without knowing how it could affect their rights in a yet unknown criminal
proceeding Furthermore, even if the SEC does have a general right to share information with
other governmental agencies, this right is not absolute, particularly where a civil action has been
commenced in connection with a criminal investigation or proceeding Simply put, the
government generally cannot use civil discovery procedures to act as a stalking horse to acquire
information for criminal proceedings See generally Srerli'ng Nnt. Bnnk v. A-l Holels
Infern., Inc., l75 F.Supp£d 573, 578~79 (S.D.N.Y. 2001) (observlng that where “the government
itself has an opportunity to escalate the pressure on defendants by manipulating simultaneous
civil and criminal proceedings both of which it controls . . . there is a special danger that the
government can effectively undermine rights that would exist in a criminal investigation by
conducting a de facto criminal investigation using nominally civil means."). Because the “right”
to share information is not absolute, it is inappropriate to have the Court issue a ruling at this
time that sharing information is acceptable Alpine is understandably apprehensive of the use of
the civil discovery process to gather information for the primary benefit of the criminal
investigation, and the prejudice that could result, including possible waiver of rights Alpine
disagrees that SEC Forms 1661 and 1662 are applicable here, as they appear to apply only in the
investigative phase, not once the SEC has commenced an enforcement proceeding in Court.

Accordingly, the parties request that the Court enter the enclosed protective order after
resolving the dispute described above.

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4',» wl R,ZLL w ,E._.,T s/(~Z/MX $£- Zachary T. Carlyle (pro hac vice)
b Vw Terry R. Miller (pro hac vice)
M al >(w! - Attorneys for Plaintiff

UNITED STATES SECURITIES AND

Sincerely,

f Z)¢/ EXCHANGE COMMlSSlON
""‘M 1961 Stout Street, l'/'th Floor
Denver, Colorado 80294
72 ‘%'7 (303) 844-1000

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s/ Brent R. Baker

Brent R. Baker (BB 8285)

Aaron D. Lebenta (Pro Hac Vz`ce)

lonathan D. Bletzacker (Pro an Vr`ce)

CLYDE SNOW & SESSIONS

One Utah Center, 13th Floor

201 South Main Street

Salt Lake City, Utah 84l l 1-2216

Telephone 801.322.25l6

Facsimile 801.521.6280

Email: brb@clydesnow.com
adl@clydesnow.com

 

 

 

